        Case 1:01-cv-12257-PBS Document 6792 Filed 12/21/09 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
 ______________________________________________
                                                       ) MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY                          ) Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION                     ) Subcategory Case No. 06-11337
_______________________________________________ )
                                                       ) Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                              )
State of California, ex rel. Ven-A-Care of the Florida ) Magistrate Judge
Keys, Inc. v. Abbott Laboratories, Inc., et al.        ) Marianne B. Bowler
Case No: 1:03-cv-11226-PBS                             )
_______________________________________________ )

 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFFS’ OPPOSITION
  TO DEFENDANTS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT

       Pursuant to Federal Rule of Evidence 201, Plaintiffs respectfully request that the Court

take judicial notice of the documents listed below and attached hereto as exhibits. The

documents are not subject to reasonable dispute in that they are “capable of accurate and ready

determination by resort to sources whose accuracy cannot reasonably be questioned.” Fed. R.

Evid. 201(b).

   1. S.B. 393, 1999 Leg., Reg. Sess. (Ca. 1999).

   2. Assemb. B. 442, 2002 Leg., Reg. Sess. (Ca. 2002)

   3. Assemb. B. 442, 2002 Leg., Reg. Sess. (Ca. 2002) (Complete Bill History)

Dated: December 21, 2009                   Respectfully submitted,

                                           EDMUND G. BROWN JR.
                                           Attorney General for the State of California

                                           By: __/s/ Nicholas N. Paul________
                                                 NICHOLAS N. PAUL
                                                 Supervising Deputy Attorney General
                                                 RANDAL GLASER
                                                 Deputy Attorney General
                                                 Bureau of Medi-Cal Fraud and Elder Abuse
                                                 Office of the Attorney General
                                                 1455 Frazee Road, Suite 315



                                              1
        Case 1:01-cv-12257-PBS Document 6792 Filed 12/21/09 Page 2 of 2




                                                     San Diego, CA 92108
                                                     Telephone: (619) 688-6099
                                                     Fax: (619) 688-4200

                                             Attorneys for Plaintiff,
                                             STATE OF CALIFORNIA


                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was delivered to all counsel of

record by electronic service pursuant to Paragraph 11 of the Case Management Order No. 2, by

sending on December 21, 2009, a copy to Lexis-Nexis for posting and notification to all parties.

                                               __/s/ Nicholas N. Paul________
                                                NICHOLAS N. PAUL




                                                 2
